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   9
  10                      UNITED STATES DISTRICT COURT
  11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 NEMAN BROTHERS & ASSOC.,                 Case No. 2:20-cv-11181-CAS-JPRC
     INC., a California Corporation,
  14
                  Plaintiff,                  PROOF OF SERVICE RE UNDER
  15                                          SEAL DOCUMENT
           v.
  16
     INTERFOCUS, INC. d.b.a.
  17 www.patpat.com, a Delaware
     Corporation; CAN WANG, and
  18 individual, and DOES 1-10, inclusive.,
  19              Defendants.
  20
     INTERFOCUS, INC. d.b.a.
  21 www.patpat.com, a Delaware
     Corporation; CAN WANG, an
  22 individual, and DOES 1-10, inclusive,
  23              Counterclaim Plaintiffs,
  24        v.
  25 NEMAN BROTHERS & ASSOC.,
     INC., a California Corporation,
  26
                  Counterclaim Defendant.
  27
  28

                 PROOF OF SERVICE OF SERVICE RE UNDER SEAL DOCUMENT
Case 2:20-cv-11181-CAS-JPR Document 67 Filed 11/01/21 Page 2 of 2 Page ID #:1329




   1                                  PROOF OF SERVICE
   2       I, CHERYL LOVDAHL, am over the age of 18 and not a party to
   3 this action. My place of business is 800 Oak Grove Avenue, Suite 250,
   4 Menlo Park, CA 94025. On November 1, 2021, I served the following
   5 attached document(s):
   6
             1.     EXHIBIT 2 TO THE DECLARATION OF MARK S. LEE
   7                IN FURTHER SUPPORT OF: 1) MOTION FOR
   8                SUMMARY JUDGMENT AND PARTIAL SUMMARY
                    JUDGMENT ON PLAINTIFF’S COMPLAINT AND
   9
                    DEFENDANT’S COUNTERCLAIM; AND 2)
  10                OPPOSITION TO PLAINTIFF’S MOTION FOR
  11                SUMMARY JUDGMENT; 3) APPLICATION TO FILE
  12
                    UNDER SEAL; AND
  13
             2.     PROOF OF SERVICE
       on the person(s) listed below in the following manner/s:
  14
  15            BY ELECTRONIC MAIL. I sent the persons below copies of the
                 documents via electronic mail at the email addresses below.
  16
             The following party was served the above-referenced document(s):
  17
                              Chan Yong Jeong, Esq. (SBN: 255244)
  18                                jeong@jeonglikens.com
  19                               JEONG & LIKENS, L.C.
                                   222 South Oxford Avenue
  20                             Los Angeles, California 90004
  21                                Telephone: 213.688.2001
                                    Facsimile: 213.315.5035
  22
             I declare under penalty of perjury under the laws of the State of California
  23
       that the foregoing is true and correct.
  24
  25 DATED: November 1, 2021                           /s/ Cheryl Lovdahl
  26                                                         Cheryl Lovdahl

  27
  28

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                            PROOF OF SERVICE RE UNDER SEAL DOCUMENT
